     Case: 1:18-cv-00315-MRB Doc #: 1 Filed: 05/07/18 Page: 1 of 11 PAGEID #: 1



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO

JORDAN ROSENBLATT, Individually and                 )
On Behalf of All Others Similarly Situated,         )
                                                    )
                        Plaintiff,                  )   Case No. ______________
                                                    )
        v.                                          )   JURY TRIAL DEMANDED
                                                    )
INFINITY PROPERTY AND CASUALTY                      )   CLASS ACTION
CORPORATION, JAMES R. GOBER,                        )
GLEN N. GODWIN, VICTOR THOMAS                       )
ADAMO, RICHARD J. BIELEN, ANGELA                    )
BROCK-KYLE, TERESA A. CANIDA,                       )
HAROLD E. LAYMAN, E. ROBERT                         )
MEANEY, JAMES L. WEIDNER, SAMUEL                    )
J. WEINHOFF KEMPER CORPORATION,                     )
and VULCAN SUB, INC.,                               )
                                                    )
                        Defendants.                 )

  COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

        Plaintiff, by his undersigned attorneys, for this complaint against defendants, alleges

upon personal knowledge with respect to himself, and upon information and belief based upon,

inter alia, the investigation of counsel as to all other allegations herein, as follows:

                                     NATURE OF THE ACTION

        1.      This action stems from a proposed transaction announced on February 13, 2018

(the “Proposed Transaction”), pursuant to which Infinity Property and Casualty Corporation

(“Infinity” or the “Company”) will be acquired by Kemper Corporation (“Parent”) and its wholly

owned subsidiary, Vulcan Sub, Inc. (“Merger Sub,” and together with Parent, “Kemper”).

        2.      On February 13, 2018, Infinity’s Board of Directors (the “Board” or “Individual

Defendants”) caused the Company to enter into an agreement and plan of merger (the “Merger

Agreement”) with Kemper. Pursuant to the terms of the Merger Agreement, if the Proposed
    Case: 1:18-cv-00315-MRB Doc #: 1 Filed: 05/07/18 Page: 2 of 11 PAGEID #: 2



Transaction is approved by Infinity’s and Parent’s shareholders and completed, each share of

Infinity common stock will be cancelled and converted into, at the election of the holder of such

share, subject to proration and adjustment as described in the Merger Agreement, either (i) mixed

consideration consisting of $51.60 in cash and 1.2019 shares of Kemper common stock, (ii) cash

consideration consisting of $129.00, or (iii) stock consideration consisting of 2.0031 shares of

Kemper common stock. Infinity stockholders that do not make an election will receive the

mixed consideration described in (i) above.

       3.     The Infinity shareholder vote on the Proposed Transaction is scheduled to occur

on June 1, 2018.      Upon the closing of the Proposed Transaction, pre-existing Kemper

stockholders and former Infinity shareholders would own approximately 80% and 20% of the

outstanding shares of Kemper common stock, respectively.

       4.     On April 4, 2018, defendants filed a Form S-4 Registration Statement with the

United States Securities and Exchange Commission (“SEC”) in connection with the Proposed

Transaction, which was subsequently amended in a Form S-4/A filed with the SEC on April 24,

2018 (as amended, the “Registration Statement”).

       5.     The Registration Statement omits material information with respect to the

Proposed Transaction, which renders the Registration Statement false and misleading.

Accordingly, plaintiff alleges herein that defendants violated Sections 14(a) and 20(a) of the

Securities Exchange Act of 1934 (the “1934 Act”) in connection with the Registration Statement.

                               JURISDICTION AND VENUE

       6.     This Court has jurisdiction over the claims asserted herein pursuant to Section 27

of the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the

1934 Act and Rule 14a-9.




                                               2
    Case: 1:18-cv-00315-MRB Doc #: 1 Filed: 05/07/18 Page: 3 of 11 PAGEID #: 3



       7.      This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       8.      Venue is proper under 28 U.S.C. § 1391(b) because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                             PARTIES

       9.      Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of Infinity common stock.

       10.     Defendant Infinity is an Ohio corporation and maintains its principal executive

offices at 2201 4th Avenue North, Birmingham, Alabama 35203. Infinity’s common stock is

traded on the NasdaqGS under the ticker symbol “IPCC.” Infinity is a party to the Merger

Agreement.

       11.     Defendant James R. Gober (“Gober”) is a director of Infinity.

       12.     Defendant Glen N. Godwin (“Godwin”) is a director and the Chief Executive

Officer (“CEO”) of Infinity.

       13.     Defendant Victor Thomas Adamo (“Adamo”) is a director of Infinity.

       14.     Defendant Richard J. Bielen (“Bielen”) is a director of Infinity.

       15.     Defendant Angela Brock-Kyle (“Brock-Kyle”) is a director of Infinity.

       16.     Defendant Teresa A. Canida (“Canida”) is a director of Infinity.

       17.     Defendant Harold E. Layman (“Layman”) is a director of Infinity.

       18.     Defendant E. Robert Meaney (“Meaney”) is a director of Infinity.

       19.     Defendant James L. Weidner (“Weidner”) is a director of Infinity.




                                                  3
    Case: 1:18-cv-00315-MRB Doc #: 1 Filed: 05/07/18 Page: 4 of 11 PAGEID #: 4



       20.     Defendant Samuel J. Weinhoff (“Weinhoff”) is a director of Infinity.

       21.     The defendants identified in paragraphs 10 through 19 are collectively referred to

herein as the “Individual Defendants.”

       22.     Defendant Parent is a Delaware corporation. Parent’s common stock is traded on

the NYSE under the ticker symbol “KMPR.” Parent is a party to the Merger Agreement.

       23.     Defendant Merger Sub is an Ohio corporation and a wholly-owned subsidiary of

Parent. Merger Sub is a party to the Merger Agreement.

                               CLASS ACTION ALLEGATIONS

       24.     Plaintiff brings this action as a class action on behalf of himself and the other

public stockholders of Infinity (the “Class”). Excluded from the Class are defendants herein and

any person, firm, trust, corporation, or other entity related to or affiliated with any defendant.

       25.     This action is properly maintainable as a class action.

       26.     The Class is so numerous that joinder of all members is impracticable. As of

February 9, 2018, there were approximately 10,935,412 shares of Infinity common stock

outstanding, held by hundreds, if not thousands, of individuals and entities scattered throughout

the country.

       27.     Questions of law and fact are common to the Class, including, among others: (i)

whether defendants violated the 1934 Act; and (ii) whether defendants will irreparably harm

plaintiff and the other members of the Class if defendants’ conduct complained of herein

continues.

       28.     Plaintiff is committed to prosecuting this action and has retained competent

counsel experienced in litigation of this nature. Plaintiff’s claims are typical of the claims of the

other members of the Class and plaintiff has the same interests as the other members of the




                                                  4
     Case: 1:18-cv-00315-MRB Doc #: 1 Filed: 05/07/18 Page: 5 of 11 PAGEID #: 5



Class. Accordingly, plaintiff is an adequate representative of the Class and will fairly and

adequately protect the interests of the Class.

        29.     The prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications that would establish incompatible

standards of conduct for defendants, or adjudications that would, as a practical matter, be

dispositive of the interests of individual members of the Class who are not parties to the

adjudications or would substantially impair or impede those non-party Class members’ ability to

protect their interests.

        30.     Defendants have acted, or refused to act, on grounds generally applicable to the

Class as a whole, and are causing injury to the entire Class. Therefore, final injunctive relief on

behalf of the Class is appropriate.

                               SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

        31.     Infinity was incorporated in 2002 and it is a holding company that provides

insurance, through its subsidiaries, for personal auto with a concentration on non-standard risks,

commercial auto and classic collectors.

        32.     Infinity offers personal and commercial auto insurance primarily in four key

states: Arizona, California, Florida, and Texas.      Infinity’s target customers are urban and

Hispanic drivers. This narrow geographic and demographic focus allows Infinity to concentrate

its efforts and resources on providing competitively priced products to underserved segments

while generating adequate returns for its shareholders.

        33.     On February 13, 2018, the Individual Defendants caused the Company to enter

into the Merger Agreement with Kemper.




                                                 5
    Case: 1:18-cv-00315-MRB Doc #: 1 Filed: 05/07/18 Page: 6 of 11 PAGEID #: 6



       34.     Pursuant to the terms of the Merger Agreement, if the Proposed Transaction is

completed, each share of Infinity common stock will be cancelled and converted into, at the

election of the holder of such share, subject to proration and adjustment as described in the

Merger Agreement, either (i) mixed consideration consisting of $51.60 in cash and 1.2019 shares

of Kemper common stock, (ii) cash consideration consisting of $129.00, or (iii) stock

consideration consisting of 2.0031 shares of Kemper common stock. Infinity stockholders that

do not make an election will receive the mixed consideration described in (i) above.

       35.     The Infinity shareholder vote on the Proposed Transaction is scheduled to occur

on June 1, 2018. The Company expects the closing of the Proposed Transaction to occur in the

third quarter of 2018. Upon the closing of the Proposed Transaction, pre-existing Kemper

stockholders and former Infinity shareholders would own approximately 80% and 20% of the

outstanding shares of Kemper common stock, respectively.

The Registration Statement Omits Material Information, Rendering It False and Misleading

       36.     On April 24, 2018, defendants filed the Registration Statement with the SEC in

connection with the Proposed Transaction.

       37.     The Registration Statement omits material information with respect to the

Proposed Transaction, which renders the Registration Statement false and misleading.

       38.     The Registration Statement omits material information regarding Infinity’s and

Parent’s financial projections, as well as the valuation analyses performed by the Company’s

financial advisor in connection with the Proposed Transaction, Deutsche Bank Securities Inc.

(“Deutsche Bank”).

       39.     The disclosure of projected financial information is material because it provides

stockholders with a basis to project the future financial performance of a company, and allows




                                                6
     Case: 1:18-cv-00315-MRB Doc #: 1 Filed: 05/07/18 Page: 7 of 11 PAGEID #: 7



stockholders to better understand the financial analyses performed by the company’s financial

advisor in support of its fairness opinion. Moreover, when a banker’s endorsement of the

fairness of a transaction is touted to shareholders, the valuation methods used to arrive at that

opinion as well as the key inputs and range of ultimate values generated by those analyses must

also be fairly disclosed.

        40.    With respect to Deutsche Bank’s Dividend Discount Analysis of each of Infinity

and Parent, the Registration Statement fails to disclose: (i) Infinity’s and Parent’s projected 2020

tangible book value or goodwill, as used by Deutsche Bank in its analyses; (ii) the inputs and

assumptions underlying the different sets of discount rates calculated and used by Deutsche Bank

in its analyses; (iii) how Deutsche Bank selected the terminal exit multiples that it applied to

each company’s relevant projections; and (iv) the perpetuity growth rates implied by Deutsche

Bank’s analyses.

        41.    The omission of the above-referenced material information renders the

Registration Statement false and misleading, including, inter alia, the following sections of the

Registration Statement: (i) Opinion of Infinity’s Financial Advisor; (ii) Kemper Financial

Projections; and (iii) Infinity Financial Projections.

        42.    The Registration Statement omits material information relating to potential

conflicts of interest of Deutsche Bank. Due to the central role played by investment banks in the

evaluation, exploration, selection, and implementation of strategic alternatives, stockholders are

entitled to the full disclosure of investment banker compensation and all potential conflicts of

interest.

        43.    The Registration Statement fails to disclose whether Deutsche Bank has provided

any financial advisory or other services to Infinity or its affiliates in the past and, if so, the




                                                  7
     Case: 1:18-cv-00315-MRB Doc #: 1 Filed: 05/07/18 Page: 8 of 11 PAGEID #: 8



Registration Statement must disclose the nature and timing of those services, as well as the

amount of compensation that Deutsche Bank has earned in connection with those services.

       44.     The omission of the above-referenced material information renders the

Registration Statement false and misleading, including, inter alia, the following sections of the

Registration Statement: (i) Opinion of Infinity’s Financial Advisor; and (ii) Background of the

Merger.

       45.     The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s stockholders.

                                             COUNT I

      Claim for Violation of Section 14(a) of the 1934 Act and Rule 14a-9 Promulgated
                Thereunder Against the Individual Defendants and Infinity

       46.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       47.     The Individual Defendants disseminated the false and misleading Registration

Statement, which contained statements that, in violation of Section 14(a) of the 1934 Act and

Rule 14a-9, in light of the circumstances under which they were made, omitted to state material

facts necessary to make the statements therein not materially false or misleading. Infinity is

liable as the issuer of these statements.

       48.     The Registration Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants.      By virtue of their positions within the Company, the Individual

Defendants were aware of this information and their duty to disclose this information in the

Registration Statement.

       49.     The Individual Defendants were at least negligent in filing the Registration

Statement with these materially false and misleading statements.

       50.     The omissions and false and misleading statements in the Registration Statement



                                                  8
    Case: 1:18-cv-00315-MRB Doc #: 1 Filed: 05/07/18 Page: 9 of 11 PAGEID #: 9



are material in that a reasonable stockholder will consider them important in deciding how to

vote on the Proposed Transaction.       In addition, a reasonable investor will view a full and

accurate disclosure as significantly altering the total mix of information made available in the

Registration Statement and in other information reasonably available to stockholders.

       51.     The Registration Statement is an essential link in causing plaintiff and the

Company’s stockholders to approve the Proposed Transaction.

       52.     By reason of the foregoing, defendants violated Section 14(a) of the 1934 Act and

Rule 14a-9 promulgated thereunder.

       53.     Because of the false and misleading statements in the Registration Statement,

plaintiff and the Class are threatened with irreparable harm.

                                            COUNT II

                     Claim for Violation of Section 20(a) of the 1934 Act
                      Against the Individual Defendants and Kemper

       54.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       55.     The Individual Defendants and Kemper acted as controlling persons of Infinity

within the meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of their

positions as officers and/or directors of Infinity and participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the false statements contained in the

Registration Statement, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that plaintiff contends are false and misleading.

       56.     Each of the Individual Defendants and Kemper was provided with or had

unlimited access to copies of the Registration Statement alleged by plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the



                                                  9
   Case: 1:18-cv-00315-MRB Doc #: 1 Filed: 05/07/18 Page: 10 of 11 PAGEID #: 10



issuance of the statements or cause them to be corrected.

       57.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control and influence the particular transactions giving rise to the violations as

alleged herein, and exercised the same. The Registration Statement contains the unanimous

recommendation of the Individual Defendants to approve the Proposed Transaction. They were

thus directly in the making of the Registration Statement.

       58.     Kemper also had direct supervisory control over the composition of the

Registration Statement and the information disclosed therein, as well as the information that was

omitted and/or misrepresented in the Registration Statement.

       59.     By virtue of the foregoing, the Individual Defendants and Kemper violated

Section 20(a) of the 1934 Act.

       60.     As set forth above, the Individual Defendants and Kemper had the ability to

exercise control over and did control a person or persons who have each violated Section 14(a)

of the 1934 Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their

positions as controlling persons, these defendants are liable pursuant to Section 20(a) of the 1934

Act.   As a direct and proximate result of defendants’ conduct, plaintiff and the Class are

threatened with irreparable harm.

                                    PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and




                                                10
   Case: 1:18-cv-00315-MRB Doc #: 1 Filed: 05/07/18 Page: 11 of 11 PAGEID #: 11



setting it aside or awarding rescissory damages;

       C.      Directing the Individual Defendants to disseminate a Registration Statement that

does not contain any untrue statements of material fact and that states all material facts required

in it or necessary to make the statements contained therein not misleading;

       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act, as

well as Rule 14a-9 promulgated thereunder;

       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff respectfully requests a trial by jury on all issues so triable.

Dated: May 7, 2018                                   LAW OFFICES OF JOHN C.
                                                     CAMILLUS, LLC

                                                By: /s/ John C. Camillus
                                                    John C. Camillus
                                                    P.O. Box 141410
                                                    Columbus, OH 43214
                                                    Telephone: (614) 558-7254
                                                    Email: jcamillus@camilluslaw.com

                                                     Attorneys for Plaintiff
OF COUNSEL:

RIGRODSKY & LONG, P.A.
300 Delaware Avenue, Suite 1220
Wilmington, DE 19801
Telephone: (302) 295-5310

RM LAW, P.C.
1055 Westlakes Drive, Suite 300
Berwyn, PA 19312
Telephone: (484) 324-6800




                                                   11
